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                              EXHIBIT 10
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                   A               B                 C             D               E

            TAC ¶ for Invoices                              TAC ¶ for Invoices
    1    affected by 4- year SOL   Invoice Amount        affected by 5- year SOL   Invoice Amount
    2                13                 $34,608.09                  13                  $34,608.09
    3                14                 $86,125.26                  14                  $86,125.26
    4                15                 $48,335.32                  15                  $48,335.32
    5                16                 $75,238.89                  16                  $75,238.89
    6                17               $118,543.84                   17                $118,543.84
    7                18                 $56,406.52                  18                  $56,406.52
    8                19                 $89,750.65                  19                  $89,750.65
    9                20               $112,847.60                   20                $112,847.60
    10               21                 $11,978.29                  21                  $11,978.29
    11               22                 $78,157.64                  22                  $78,157.64
    12               23                 $58,979.40                  23                  $58,979.40
    13               24                 $86,227.54                  24                  $86,227.54
    14               25                 $48,634.29                  25                  $48,634.29
    15               26                 $20,082.92                  26                  $20,082.92
    16               27                 $45,553.39                  27                  $45,553.39
    17               28                 $91,067.44                  28                  $91,067.44
    18               29                 $83,098.02                  29                  $83,098.02
    19               30                  $3,334.95                  30                   $3,334.95
    20               31                    $662.86                  31                     $662.86
    21               32                 $59,236.41                  32                  $59,236.41
    22               33                  $2,953.74                  33                   $2,953.74
    23               34                    $86,445                  34                     $86,445
    24               35                 $58,150.80                  35                  $58,150.80
    25               36                 $71,207.72                  36                  $71,207.72
    26              261                 $96,396.08                  37                  $75,033.58
    27              262                 $82,678.18                  38                   $7,451.60
    28              263                 $30,611.09                  39                  $15,296.09
    29              264                 $82,819.75                  40                        $300
    30              265                 $98,589.22                  41                  $50,496.84
    31              266                 $34,974.50                  42                   $4,718.58
    32              267                 $13,863.50                  43                  $81,126.75
    33              268                 $61,524.95                  44                  $35,987.40
    34              269                 $11,722.07                  45                  $59,159.80
    35              270                 $57,377.87                  46                     $668.50
    36              271                 $77,139.78                  47                  $55,199.43
    37              272                 $44,149.06                  48                  $25,120.06
    38              273                  $5,078.23                  49                     $82,842
    39              274                 $77,790.80                  50                  $76,526.40
    40              275                 $52,647.19                  51                  $47,933.40
    41              276                 $78,835.11                  52                   $1,288.56
    42              277                 $37,790.10                  53                  $42,788.15
    43              278                 $28,940.18                  54                  $47,470.44
    44              279                 $33,134.91                  55                  $81,536.35
    45              280                 $78,895.43                  56                  $54,353.60
    46              281                 $43,577.36                  57                  $43,756.95
    47              282                 $67,447.02                  58                     $369.32
    48             Total             $2,623,608.96                   59                    $303.74
    49                                                               60                 $39,243.18
    50                                                               61                 $69,327.27
    51                                                               62                 $29,091.10
    52                                                               63                 $76,939.35
    53                                                               64                 $20,735.88
    54                                                               65                 $14,624.52
    55                                                               66                    $470.95
    56                                                              261                 $96,396.08
    57                                                              262                 $82,678.18
    58                                                              263                 $30,611.09
    59                                                              264                 $82,819.75
    60                                                              265                 $98,589.22
    61                                                              266                 $34,974.50
    62                                                              267                 $13,863.50
    63                                                              268                 $61,524.95
    64                                                              269                 $11,722.07
    65                                                              270                 $57,377.87
    66                                                              271                 $77,139.78
    67                                                              272                 $44,149.06
    68                                                              273                  $5,078.23
    69                                                              274                 $77,790.80
    70                                                              275                 $52,647.19
    71                                                              276                 $78,835.11
    72                                                              277                 $37,790.10
    73                                                              278                 $28,940.18
    74                                                              279                 $33,134.91
    75                                                              280                 $78,895.43
    76                                                              281                 $43,577.36
    77                                                              282                 $67,447.02
    78                                                              283                 $56,164.05
    79                                                              284                    $96,448
    80                                                              285                 $40,096.73
    81                                                              286                 $65,247.85
    82                                                              287                 $80,704.54
    83                                                              288                 $12,847.61
    84                                                              289                    $32,413
    85                                                              290                 $34,630.04
    86                                                              291                 $40,468.65
    87                                                              292                 $60,248.27
    88                                                              293                 $43,311.58
    89                                                              294                 $41,265.65
    90                                                              295                 $53,035.32
    91                                                              296                 $19,980.37
    92                                                              297                 $65,462.16
    93                                                              298                 $14,808.67
    94                                                             Total             $4,520,901.24
